     Fill in this information to identify the case:

     Debtor 1 EDUARDO PARTIDA
     Debtor 2      LAURA LORENA PARTIDA
     (Spouse, if filing)

     United States Bankruptcy Court for the: Middle District of Pennsylvania
     Case number 1:19-bk-04918-HWV




 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                       12/15

 If the debtor’s plan provides for payment of post-petition contractual installments on your claim secured by a security interest
 in the debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File
 this form as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule
 3002.1.

  Name of creditor: Freedom Mortgage Corporation                                Court claim no. (if known): 9

  Last four digits of any number you           3750                            Date of payment change:                    12/01/2022
  use to identify the debtor’s account:                                        Must be at least 21 days after date of
                                                                               this notice

                                                                               New total payment:                        $2,672.95
                                                                               Principal, interest, and escrow, if any


  Part 1: Escrow Account Payment Adjustment
     Will there be a change in the debtor’s escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable non bankruptcy law.
            Describe the basis for the change. If a statement is not attached, explain why:

            Current escrow payment: $ 882.05             New escrow payment:         $ 943.70

  Part 2: Mortgage Payment Adjustment
     Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-
     rate note?
            No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable non bankruptcy law. If a notice is not
            attached, explain why:

                Current interest rate:                               %              New interest rate:                               %

               Current principal and interest payment: $ _________               New principal and interest payment: $ __


  Part 3: Other Payment Change

     Will there be a change in the debtor’s mortgage payment for a reason not listed above?
            No
            Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
            modification agreement. (Court approval may be required before the payment change can take effect.)

               Reason for change:


               Current mortgage payment: $                         New mortgage payment: $




Official Form 410S1                           Notice of Mortgage Payment Change                                                page 1

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   Debtor1        EDUARDO PARTIDA                                      Case number (if known) 1:19-bk-04918-HWV
                  First Name        Middle Name       Last Name


   Part 4: Sign Here
   The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
   telephone number.

   Check the appropriate box.
          I am the creditor.

          I am the creditor’s authorized agent.



   I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
   information, and reasonable belief.



    /s/ Mario Hanyon
            Signature
                                                                                      Date 11/04/2022



   Print: Mario Hanyon (203993)
              First Name          Middle Name         Last Name                       Title Attorney



   Company Brock & Scott, PLLC

   Address 8757 Red Oak Blvd., Suite 150
                 Number                   Street


                 Charlotte, NC 28217
   City           State        ZIP Code


   Contact phone 844-856-6646 x4560                                                   Email PABKR@brockandscott.com




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Case 1:19-bk-04918-HWV                             Doc Filed 11/04/22 Entered 11/04/22 14:29:08                       Desc
                                                   Main Document   Page 2 of 7
                                IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                             Harrisburg Division


 IN RE:
 EDUARDO PARTIDA AND LAURA LORENA PARTIDA                        Case No. 1:19-bk-04918-HWV
                                                                 Chapter 13
 Freedom Mortgage Corporation,
          Movant

 vs.

 EDUARDO PARTIDA AND LAURA LORENA PARTIDA,
       Debtors




                                            CERTIFICATE OF SERVICE

         I, the undersigned, hereby certify that a true and exact copy of the foregoing Notice Of Mortgage Payment Change
has been electronically served or mailed, postage prepaid on this day to the following:

EDUARDO PARTIDA
1218 ALTA VISTA WAY
SEVEN VALLEYS, PA 17360

LAURA LORENA PARTIDA
1218 ALTA VISTA WAY
SEVEN VALLEYS, PA 17360

Dawn Marie Cutaia, Debtor's Attorney
1701 West Market Street
York, PA 17404

Jack N Zaharopoulos (Trustee), Bankruptcy Trustee
8125 Adams Drive, Suite A
Hummelstown, PA 17036

United States Trustee, US Trustee
228 Walnut Street, Suite 1190
Harrisburg, PA 17101


November 4, 2022
                                                    /s/Mario Hanyon
                                                    Andrew Spivack, PA Bar No. 84439
                                                    Matt Fissel, PA Bar No. 314567
                                                    Mario Hanyon, PA Bar No. 203993
                                                    Ryan Starks, PA Bar No. 330002
                                                    Jay Jones, PA Bar No. 86657
                                                    Attorney for Creditor
                                                    BROCK & SCOTT, PLLC
                                                    8757 Red Oak Boulevard, Suite 150
                                                    Charlotte, NC 28217
                                                    Telephone: (844) 856-6646
                                                    Facsimile: (704) 369-0760
                                                    E-Mail: PABKR@brockandscott.com



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